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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

                                 CIVIL MOTION HEARING


 IN RE CATTLE AND BEEF ANTITRUST                             COURT MINUTES
 LITIGATION                                                BEFORE: Hildy Bowbeer
                                                            U.S. Magistrate Judge
 This Document Relates to:
 All Actions                                       Case No.:         20-cv-1319 (JRT/HB)
                                                   Date:             May 4, 2022
                                                   Location:         n/a (by videoconference)
                                                   Court Reporter:   Paula Richter
                                                   Time:             3:30 pm – 4:28 pm
                                                                     4:39 pm – 4:55 pm
                                                   Total Time:       1 hour 14 minutes


APPEARANCES:

Class Plaintiffs:
   • For Cattle Producer Plaintiffs: Stacey P. Slaughter
   • For Direct Purchaser Plaintiffs: Elizabeth T. Castillo and Michelle J. Looby
   • For Commercial and Institutional Indirect Purchaser Plaintiffs: A. Blaine Finley and S.
       Sterling Aldridge
   • For Consumer Indirect Purchaser Plaintiffs: R. David Hahn and Kyle J. Pozan

Defendants:
   • For Tyson: Susan E. Foster

Non-Parties:
   • For Marfrig Global Foods, S.A.: Leonid Feller

PROCEEDINGS:

The Court heard argument on Plaintiffs’ Motion for Issuance of Letter of Request [ECF No.
513]. Ruling from the bench as fully described and for the reasons stated on the record, the
Court denied the motion.


                                                                   s/MJA
                                                                   Judicial Law Clerk
